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   16
                              CENTRAL DISTRICT OF CALIFORNIA
   17
                                        WESTERN DIVISION
   18
   19
        Jenny Lisette Flores, et al.,               Case No. CV 85-4544-RJK(Px)
   20
                         Plaintiffs,                Plaintiffs’ First Set Of Exhibits In
   21                                               Support Of Motion For Class-Wide
              v.                                    Enforcement Of Settlement [Part
   22                                               12: Exhibits 38-53]
        Jeh Johnson, Secretary, U.S. Department
   23   of Homeland Security, et al.,               Hearing: March 9, 2015
                                                    Time:    TBD
   24                    Defendants.                Dept:    TBD
   25
   26
                                        PUBLIC VERSION
   27
                                                               PLAINTIFFS’ FIRST SET OF EXHIBITS IN
   28                                                         SUPPORT OF MOTION FOR CLASS-WIDE
                                                                    ENFORCEMENT OF SETTLEMENT
                                                                          [PART 12: EXHIBITS 38-53]
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                                                             PLAINTIFFS’ FIRST SET OF EXHIBITS IN
   28                                                       SUPPORT OF MOTION FOR CLASS-WIDE
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                            DECLARATION OF S                   C     M

 I, S    C     M        , declare under penalty of perjury that the following is true and correct:

        1. I am a native and citizen of Guatemala.

        2. On or about December 19, 2014, my daughter Y              B       G      C    and I

             crossed the border and entered the United States. We had spent many days walking

             and on bus. We had suffered from hunger on the journey, and we were very tired and

             scared.

        3. I left Guatemala with my daughter because of fear for our lives and our well-being.

             My family, including my sister and my mother, had been targeted by gangs and had

             their lives threatened. My neighbor had also been threatened with death by the gangs.

             There is no way to get police protection in our part of Guatemala.

        4. We were taken into custody by Border Patrol on the same day, and we were brought

             to a facility where we stayed one night. It was very crowded. It was one room with

             about 28 people. There were no mattresses or blankets. There was so little room that

             we had to sleep sitting up on the hard floor. When we tried to sleep, they didn’t let us.

             I got sick with a cold there because of temperature changes. I had a fever there. They

             gave us one sandwich for breakfast, lunch and dinner. The toilet was in the same

             room where everyone was. All of the other women and girls could see you when you

             used the bathroom.

        5. They then transferred us to a different jail. At that second jail, we spent one night. At

             night, they separated me and my daughter, and we had to sleep very far away from

             each other, where I could not see her. I was very worried for her safety. It was also




                                                                           Exhibit 38 - Page 577
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          very cold in the room at night. They gave us an aluminum blanket that was not

          enough to keep us wafin.

       6. We arrived here at the Detention Center in Dilley, Texas on or about December20"

          2414. We have beenhere since.

       7. At this detention center,they showed us a video about legal rights but we did not

          really understand it. No one explained to us directly about how to apply for asylum,

          or how to apply for a bond to be released.

       8. I feel very sad here at the Dilley facility becauseI cannot even call my brother-in-law

          or father who are here in the United States. The telephone in my cabin does not

          function properly. I have asked for help with using the telephone, but they told me

          that they could not help me. I am not able to contact any free lawyers, or my family

          members.

       9. The people at this detention center askedme if we had family in the area. I told them

          that I did, and that I have my brother-in-law and father in the United States.

       Executedthir _&_day of January2015in Dilley, Texas.




                                                    Name:
                                                       S                        C          h




                                                                        Exhibit 38 - Page 578
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                      DECLARATION OF S                   B              D T

         I, S     B        D T       , declare under penalty of perjury that the following is true and

  correct:

     1. I am a native and citizen of El Salvador.

     2. I fled from El Salvador with my son, E           T       B        , who is twelve years old,

         because I was afraid for our lives.

     3. In the colony where I lived in El Salvador, there was a gang that had taken over and that

         was terrorizing the families who lived there. They asked people to pay money, and they

         threatened people with violence and death. They wanted to recruit my son E             , and

         they threatened our lives if I did not let them recruit him.

     4. My son and I entered the United States on or about December 27, 2014. We were so cold

         that I went up to a patrol car and knocked on the window for help. The Border Patrol took

         me into their custody and took me to a detention facility.

     5. That first night, my son and I spent the night at a detention facility where there were

         many people. My son and I were separated and he was taken to a room with boys. In the

         room for women, I couldn’t lie down or have space to even sit properly because there

         were so many people. There were no mattresses or blankets, just an aluminum blanket

         that did not keep me warm. My son was in another room, and I could not see him or sleep

         with him, and I was very worried about him. We were fed twice, and both times it was

         just bread with ham and a juice box. It was really cold there.

     6. The next day, we were taken to a different detention facility. The second place was like a

         dog kennel, because there was fencing on all four sides and on top of us. Once again, I

         was separated from my son. I could not even talk to him once I was there, and he was




                                                                              Exhibit 39 - Page 580
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        keptwith all the boys.For meals,they gaveus breadwith ham,an apple,a cookie,anda

        drink.

     7. After that, my son and I were brought to the detention center in Dilley, Texas, where we

        are now. This place is also like a jail becauseI am not able to communicatefreely with

        my family, and the telephonecard costs so much money.

     8. My husband lives in Houston, and although he workso we do not have enough money to

        afford an attorney. I am looking for a free afforney to help me with my immigration case.

     9. I askedone of the offrcials here how long do we have to stay here, and how do I get a free

        attorney. They only told me that I could get an attorney if I could find a free one or pay

        for one. No one at this detention facility told me that I might be able to pay a bond and be

        released.No one has explained about the processof applying for asylum. I was told

        yesterdaythat I will have an interview for my asylum caseon Monday.

     10.The ofFrcialsat this facility askedme if I havefamily in the United States,andI told them

        thatmy husbandlives in Houston.

  Executedtlns1Q{day of January2015in Dilley, Texas.




                                               S         B           D T




                                                                          Exhibit 39 - Page 581
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                         DECLARATION OF M                 G         S

  I, M    G       S      , declare under penalty of perjury that the following is true and correct:

     1. I am a native and citizen of Guatemala, and I am fourteen years old. I am currently

         detained at South Texas Family Residential Center with my mother M              X

         S      and my sister M          G       S      , who is nine years old.

     2. My mother, sister and I entered into the United States on or about December 23, 2014.

         We were arrested by Border Patrol on the same night.

     3. My mother, sister and I are native K’iche speakers. I can speak Spanish pretty well, and

         my mother speaks very little Spanish.

     4. We spent one night in a government detention center. We had to sleep with our wet

         clothes on. They took away our sweaters. There were many people who were detained in

         the same room with us. There was not much room, so we had to sleep sitting up on the

         floor. We had no blankets. All we got for food was ham with bread, and the food did not

         have any flavor, so we could not eat it.

     5. We spent a second night at another government detention center.

     6. Then we were brought to the South Texas Family Residential Center in Dilley, Texas,

         where we have been since.

     7. My father C        G         G       lives in the United States, and he has been here for

         eight years. We also have four uncles who live in the United States, and they have been

         here for about ten years.

     8. Since we came to this detention center, no government official has asked us if we have

         any family in the United States. And no government official has told us that we may be




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                                    if we pay abond'
    ableto be releasedfrom detention
                                                     Texas'
    Executedthis j-    day of January'2015in Dilley'




                                       Name:
                                          /f           l      q6        L




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  DECLARATION OF M                   M              M        L

          I, M     M          M          , hereby declareand say as follows:

     1. I am a native and citizen of Honduras.

    2. I enteredthe United Stateson December23,2014 wLthmy daughterV                    N

          M       , who is four years old. We are both currently detained at the family detention

          center in Dilley, Texas.

     a
     J.   I left HondurasI am black and I was subjectto discrimination on the basesof my race

          and color after my supervisordiscriminated againstme becauseof race. When I said I

          would complain, he threatenedto kill me and to harm my family. Also, I left because

          there were problems my brother faced from the cartels, and I was afraid for my safety and

          that of my child.

     4. I had my credible fear interview before an asylum officer earlier today, and I told him the

          details of why I left my country and was scaredfor my life. Last night I was very

          worried, and I was crying and feeling anxious and worried about my safety and that of

          my child.

     5. When I was taken into custody by the Border Patrol, they took me to a detention facility

          that was a "hielera" (ice box). There were no mattressesor blankets, and my daughterand

          I were given only an aluminum blanket. The toilet there had no door and was visible to

          everyone.There were many women and girls there. You could not tellif it was day or

          night becausethere were no windows. They only gave us mealstwo times aday.

      6. On December 25, my daughterand I were taken to anotherdetention facility that people

          called the "perrera" (or dog kennel). From there, my daughterand I were brought here to

          the Dilley detention center.




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    7. YesterdayI sawa volunteerattomeyfrom RAICES who helpedme by telling me about

        the asyluminterview - what it is, why it is important,andwhy I shouldtell my story with

        details.

     8. No one who works at this detention center has explained the asylum processto me. No

        one has told me that I might be able to get releasedafter a payment of bond. They only

        show a video about the immigration process.

     9. At this facility, they asked me if I have family in the United States,and I told them that I

        have a cousin in Brooklyn.

     10. It is hard to communicate with family here. The telephone cards only gave three free

         minutes to me, and three free minutes to my daughter. I have to pay for any other

         telephonecards.Also,I cannot use Facebookon the computershere to talk with my

         family. The detention center saysthat Facebookis not allowed.

  Executedthir -i[ dayofJanuary2015.




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                                  CERTIFICATE
                                            OFTRANSLATION




         t,      E= I        .^rc.l   f           ,h     , declare
                                                                 andsayasfollows:
                                           \,
         1. I am fluent in English and Spanish.

         2. On this day, I fully and accuratelytranslatedfor foregoing to the deciarant,who

  affirmed that s/heunderstoodthe contentsthereof and affirmed the sameas being true and

  correctprior to signing.

         I declareunder penalty of perjury that the foregoing is true and correct.

                thisg
         Executed               dayof January,20l5,"r gl    lla I    , Texas.
                                                                 I




                                                       N.-' FI          be.Av, lq




                                                                           Exhibit 46 - Page 608
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                                  #:1602



                                                   
                                               
                                               
                                        
               
            
               
                                            
               
               
                     
               
               
               
            
               
               
            
               
               
               
               
            
               
               
            
               
               
            
               
            
               
               
               
           
               
               
           
           
               
           
               
               
               
               
               



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               
               
           
               
               
           
               
               
               
           
               




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               DECLARATION OF S               L        M             A

       1.    My name is S         L       M           A        . I am a native and citizen of
             Honduras. My A # is                  .
       2.    I swear that this declaration is true and accurate, and is my honest
             recollection to the best of my abilities.
       3.    I entered the United States into Texas on or around December 28, 2014.
             I came here with my 12 year old daughter, Y               A       M
             M          .
       4.    I am afraid to return to Honduras because my husband beat me and
             threatened to kill me. I fear that if I return there, he will kill me. I also
             fear that he will beat my two children, Y            , and my 8 year old son,
             R       .
       5.    When we arrived in the U.S.,              and I were brought to a very cold
             room by the U.S Border Patrol. There were about 25 moms and children
             in the room. We called it the "icebox", the temperature was very cold. It
             wasn't possible to sleep in the cold room, because there were no beds.
             My daughter and I tried to sleep on the floor, but we could not.
       6.    The lights in the cold room were on at all hours. That also made it
             difficult to sleep.
        7.   After two nights, the immigration officials moved my daughter and I to
             another place. We went in a van to the new place. When we got there
             they registered us then they told us, "The moms go over here, and the
             kids go over there." It was strange to be separated from my daughter.
       8.     The room at this new place was covered on top, and there were metal
             fences dividing up the space, which you could see through. We had small
             mattresses to sleep on. I tried looking through the metal fence to see my
             daughter in another part of the room. I could see her a little through the
             fence, she was far away but I could see her and she could see me, we
             made little hand signals at each other. We stayed there one night.
        9.   The next day, the officials let me see my daughter and she was able to stay
             with me and I was content. My daughter told me "Mami I felt so weird to
             be apart from you, I thought they would keep us apart forever."
       10.   Then, the officials brought us here to Karnes Texas. My daughter and I
             stay in a room with 6 other people. There are 2 other families in our
             room.
       11.   I declare under penalty of perjury that this declaration is true and correct,
             and I could testify thereto competently. It was written this 9th day of
             January 2015.
                        ,•3                               ry-1
             Signature
                         S                                       A
             Name (printed)




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                                                        
                                                  
                                                  
                                                  
                                    
                                  
            
               
                                   
               
            
               
               
               
            
               
               
               
               
               
            
               
               
             
               
               
               
            
               
               
            
               
           
               
                        
               
               
               
               
               
           
               
               
               
           
               



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                
               
           
               
               
           
               
           
               




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                                                    
           
                                
     
                   
     
                 
                               
                                      
  
     
     
      
     
  
     
  
     
     
     
     
  
     
  
     
     
     
  
     
     
     
     
     
 
     
      
      
     
      
 
     
     
 
      
     
  
     



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 
     
     
     
 
     
  
     
 
     
 
     




                                                                       Exhibit 50 - Page 618
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                                                      es verdady correctoy fue escritoet dia f ae
   Yo declarobajopenaldadde perjurioque estadeclaracion
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                                                                       Exhibit 50 - Page 619
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                                                        Exhibit 50 - Page 620
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                                  #:1618


                     DECLARACION DE O           F       C          M

        1.      My name is O         F       C        M      . My A# is              .
        2.      I certify that the information contained in this declaration is complete,
                true and correct.
        3.      I am a citizen and native of Honduras. I arrived in Texas on or around
                December 21, 2014 with my mother H             M       P     and my older
                brother and younger sister. My birthday is 16 february, 1999.
        4.      I arrived here with my family because my mother and my siblings and I
                were threatened by a gang in Honduras. The gang threatened to kill us. I
                fear that if we return to Honduras we will be killed.
        5.      When we arrived in McAllen Texas with the immigration officials I was
                separated from my mom. I was sent to a room where there were about
                37 young men aged 17 to 14 years in a room. The room was small, with
                one toilet and one sink. Three of the teens in my room were tattooed. In
                Honduras and El Salvador those men who wear tattoos are gang
                members.
        6.      The room in McAllen was cold, and there was not enough space, we had
                to try to sleep sitting up. The light was on all day, it was hard to sleep.
                There was no space to sleep, if you stretched out your legs you hit
                someone. I didn't speak with anyone else than my brother, I didn't know
                anyone else. I was there 2 nights. It was hard to be away from my mom.
        7.      After McAllen we were taken to the "Perrera" or "Dog Kennel" place. It
                had metal fences for walls. I was separated from my mom again. I was
                with my brother and other teen boys, about 22 in the room. I stayed
                there 1 or 2 nights.
        8.      I came next to Karnes, Texas detention facility. Here at Karnes the
                temperature is quite cold in the room at night. Also, the water tastes and
                smells of a lot of chlorine.
        9.      I declare under penalty of perjury that the above statement is true and
                correct, and if called to testify on this declaration I could do so
                competently.

     Executed at Kr      Texas on January 9, 2015.


    Signal re




                                                                       Exhibit 51 - Page 621
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                                  #:1619




  Yo declaro bajo penaldad de perjurio que esta declaracion es verdad y correcto y fue escrito el dial de
  12Am,,c) de 2015 7n PAir Yke s:        TX



  Firma


    0 1 -O7-
          2015
  Fecha




                                                                             Exhibit 51 - Page 622
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                                  #:1620



                               CERTIFICATE OF TRANSLATION




        I,      4ime....0 of   iva,rx    Fa             , declare and say, as follows:

         I. I am fluent in English and Spanish.

        2. On this day, I fully and accurately translated for foregoing to the declarant, who

 affirmed that s/he understood the contents thereof and affirmed the same as being true and

 correct prior to signing.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this bl day of January, 2015, at Karvi.e,s          , Texas.




                                                      Name:                  v turdkto POO




                                                                           Exhibit 51 - Page 623
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                                  #:1622



            DECLARATION OF J                       E          E              F

       I declare under penalty of perjury and say as follows:

    1. I am a native and citizen of El Salvador.

    2. I am currently detained along with my mother A        F     d E           , and my sister

       A       N       E         -F     , who is 9 years old, at the detention center in Karnes

       City, Texas.

    3. We have been at the detention center for approximately one month and five days.

    4. My mother, sister and I entered the United States approximately one month and eight

       days ago. We were taken into the custody of the Border Patrol.

    5. The Border Patrol took us to a facility with a very large room. I was separated from my

       mother and sister, and they were taken to a room with women and girls, and I was taken

       to a room with men and boys. I did not know anyone in the room, and I was very scared

       to be separated from my family. I stayed in this facility for three days and three nights.

    6. In the room where I stayed, there were men about 70 men and boys, all of whom were

       strangers. The bathroom was open to everyone to see. There were guys from the cartels in

       the room, who threatened me that if I fell asleep, they would beat me up and try to take

       my stuff, like my jacket. I was afraid to sleep because I was afraid that they would try to

       hurt me. I did not sleep for the three nights that we were there.

    7. The room where I stayed was very cold (like a "hielera," or ice box). It was also very

       dirty because there was dirt and mud on the floors from people's shoes. The government

       officials treated us very badly. For example, instead of giving us food, they would throw

       the food on the floor near us. They food they served was bread with ham, and it tasted

       very bad.




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     8. I became sick while I was there because I was very nervous and afraid. I was so cold that

         I was shivering and I developed a fever. I didn't sleep and I couldn't eat.

     9. I asked a woman if I could go to the infirmary because I was feeling so sick. She said no

         because they did not have an obligation to send us to a doctor. She said if I want to see a

         doctor, I should go back to my own country.

     10. I was separated from my mother and sister and could not talk to them, and that caused me

         a lot of worry. I only saw her once for a few minutes, and even then we could not talk to

        each other because we were not close together.

     11. There was no trash can in the room. The water tasted terrible, like bleach, and it was very

        hard to drink.

     12. The entire ordeal at the hielera was very difficult and painful.

     13. After three days and nights, my mother, sister, and I were taken to another facility, and

        then we were brought to this detention center at Karnes.

     14. Here at Karnes, I have had stomach problems. I suffer from gastritis, which makes me

        have stomach pain if I eat certain foods that are heavily seasoned. Back in El Salvador, I

        was seeing a doctor and taking medication for the pain. At Karnes, I went to the clinic

        and saw a doctor and told him that I get stomach pain, but he said the pain is noimal, and

        he did not prescribe any medication. Whenever I eat food with seasoning, I have stomach

        pains that last for many hours and sometimes for 24 hours.

 I declare under penalty of perjury that the foregoing is true and correct.

 Executed this 9th day of January 2015 at Karnes City, Texas.




                                                                              Exhibit 52 - Page 625
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                                                        Exhibit 52 - Page 626
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                       DECLARATION OF LAUREN BETH CONNELL

         I, Lauren Beth Connell, declare and say as follows:

         1. I am a 2014 law graduate of the University of Pennsylvania. I passed the bar exam for

  New York State administered in July 2014 and am currently awaiting the completion of a

  character and fitness evaluation before being sworn into the bar. I am currently employed as a

  Law Clerk at Akin Gump Strauss Hauer & Feld, LLP, located at 300 Convent St., Suite 1600,

  San Antonio, TX 78205. I have been employed here since September 22, 2014 with my full-

  time responsibilities being pro bono representation and volunteer coordination to benefit the

  women and children detained in Karnes City, Texas.

         2. Over the past several months, I have represented, along with licensed co-counsel at

  Akin Gump, approximately 10 clients and their minor children, who are detained by U.S.

  Immigration and Customs Enforcement at the Karnes County Detention Center in Karnes City,

  Texas. My clients were from Honduras, El Salvador, or Guatemala. Depending on the case, I

  represented the women and children in one or more of the following proceedings: bond

  proceedings, credible fear interviews, IJ review hearings, and preparation for asylum merits

  hearings.

         3. I have several years of experience in the field of immigration law. Prior to law school,

  I worked for nearly two years as a paralegal at a boutique immigration law firm in Philadelphia,

  Pennsylvania, helping foreign nationals adjust their immigration status to legal permanent

  resident through employment or family sponsorship. In this position, I also helped legal

  permanent residents become citizens. Throughout my three years of law school, I helped

  domestic violence survivors file VAWA petitions to gain legal permanent resident status,

  prepared U-Visa applications for immigrant victims of crime, and participated in advocacy




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  efforts in Philadelphia to stop the policy of police compliance with ICE holds. I was able to do

  this work through summer internships at Her Justice and Akin Gump Strauss Hauer & Feld in

  New York, NY and participation in the Penn Law Immigrant Rights Project and the Penn Law

  Translational Legal Clinic in Philadelphia, Pennsylvania.

         4. Based on the above experience, I am familiar with the policies and practices of U.S.

  Immigration and Customs Enforcement                with regard to the detention of mothers and

  children at the Karnes detention center.



  provided herein is based upon my familiarity wit



         6. As explained more fully below, in my client R.G.          , to my knowledge: 1) the U.S.

                                                                          n expedited removal along

  with his mother; 2)

  after she passed her CFI was not based on any individualized assessment of my client and her

                                             s based on an attempt to deter illegal migration by

  others; 3) in making its custody determination, DHS did not ask my client if she had any family

  members or other legal guardians in the United States to whom the child should or could be

  released; 4) DHS                                              Flores settlement-related written

  notices informing them of the decision to keep them in custody; and 5) the U.S. Department of

  Health and Human Services did not make any contact with my client or her child.

  My Client R.G.

         7. My client, R.G., came to the United States after fleeing from her native country of El

  Salvador along with her child, A.G., age 6, because they were afraid of persecution by the

                                                 -2-


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  FMLN party. FMLN members had repeatedly threatened to kill R.G. and her son after she

  refused to join the FMLN party.

         8. My client and her child were apprehended by immigration authorities on or about

  September 23, 2014. They were placed in expedited removal pursuant to Section 235(b) of the

  Immigration and Nationality Act. They were taken to a U.S. Customs and Border Protection

                -

  day before arriving in Karnes.

         9. My client has told me that at this CBP detention facility, she and her child experienced

  very harsh detention conditions. These conditions include the following: extremely cold

  temperatures and having her prescribed medication taken from her.

         10. My client R.G. and her son were transported to the Karnes County Detention Center

  on or about September 24, 2014 where they were detained until November 7, 2014.

         11. On or about October 2, 2014, my client retained me to represent her in her CFI and

  bond proceedings.

         12. My client was provided a Credible Fear Interview (CFI) on or about October 3, 2014.

  The CFI occurred on-site at Karnes with an asylum officer from the Houston field office. I

  represented R.G. during this interview and was present at Karnes for the interview. The CFI

  occurred in Spanish with an interpreter.

         13. On or about October 10, 2014, my client was served with documents informing her

  that she had passed her CFI and was being referred to removal proceedings under Section 240 of

  the Immigration and Nationality Act. Along with a Notice to Appear in removal proceedings, she

  was given a Notice of Custody Determination by DHS, which stated that DHS would continue to



                                                -3-


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  detain her and her son. DHS did not provide my client and her son any information about the

  basis of the decision to continue their detention.

          14. Upon information and belief, DHS did not take into account the lack of flight risk or

  danger presented by my client or her child, nor any other relevant factors, in making its decision

  to continue detaining them at Karnes.

          15. Upon information and belief, at the time of the custody determination and thereafter,

  DHS did not ask my client R.G. about any family members or other legal guardians in the United

  States to whom her child should or could be released, and DHS did not take any other steps to




          16                                                                    R.G. and her child

  in lieu of releasing them on bond, recognizance, or parole was made pursuant to a blanket no-

  release policy DHS applies to female-headed family units apprehended during the so-called



  2014.



  she and I, along with co-counsel Dennis Windscheffel, appeared before Immigration Judge

  Glenn McPhaul in San Antonio, seeking release on bond for my client and her son. In advance of

  the bond hearing, I submitted evidence in support of her request for bond, including a detailed

  brief outlining her claim and the legal arguments in favor of release, evidence of her medical

  condition that was not being treated properly at Karnes, several country conditions documents

  showing the violent tendencies of the FMLN in El Salvador, and declarations from experts



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         18. During the bond hearing, I argued that my client and her son do not pose any flight

  risk or danger. I presented evidence that my client (1) has a U.S. citizen uncle living in California

  who would support her and offer her a place to live; (2) has a strong asylum case based on her

  political opinion and fear of the FMLN, especially considering favorable case law in the Ninth

  Circuit where she would bond out, giving her a strong incentive to appear in court; (3) has a

  medical condition that was not being properly treated at the Karnes facility; and (4) is not a

  threat to the national security based on the fact that she has no criminal record, did not try to flee

  from Border Patrol officers, and has followed all instructions and regulations at Karnes. Counsel

  for DHS argued, via affidavits submitted to the Immigration Court, that my client posed a flight

  risk because of the mass migration theory and did not provide any individualized assessment of



  affidavits arguing that my client and her child, along with other female-headed Central American




                  n, the Immigration Judge decided to release my client and her child on their own

  recognizance. DHS did not appeal the decision to the Board of Immigration Appeals [BIA].

         19. My client and her son were released on their own recognizance from the Karnes

  County Residential Center on November 7, 2014.

         20. I plan to file an asylum application on behalf of my client and her son. The basis for

  their asylum claim is that my client was persecuted based on her political opinion of being anti-

  FMLN. My client was threatened several times by FMLN members after she attended one party

  meeting but refused to subsequently join the party or participate in party activities. Specifically,

  she objected to the violent advocacy methods used by the FMLN. The asylum application has not

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  yet been submitted to the Immigration Judge because she was released before we were able to

  submit the application.

         21. The detention of my client and her son at the Karnes County Detention Center was

  harsh and severe. The Karnes detention center is a secure facility operated by The GEO Group,

                                                                              except for when an

  exception was made

  controlled the movements of my client and her son by, among other things, setting the meal

  times during which they could eat, setting the facility count times during which they were

  required to stay in their rooms, and setting the night time lights-out time, at which time they were

  required to stay in their rooms at night without lights on, and go to sleep. For her son, who was

  over 4 and provided education, GEO staff members had full control over him during the hours

  that he receives educational services.

         22. DHS requires Karnes detainees to attend their immigration court hearings, whether

  for bond or for removal proceedings, by videoconference. Every time my client had to attend a

  court hearing by videoconference, she had to leave her son under the control of GEO staff, who,

  to the best of my knowledge and belief, are not licensed child care providers.

         23. My client and her son have complained of numerous detention conditions at the



  necessary medical treatment while she was living at the Karnes facility. In 2009, my client R.G.

  was diagnosed with cervical cancer. As a result, she had a full hysterectomy, which fortunately

  removed all of the cancer. Then, in 2014, she discovered lumps in her breasts and was

  experiencing severe pain as a result. Therefore, in June 2014, she returned to her doctor and had

  a biopsy done on the largest lump. The results showed that the lump was benign, but her doctor

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  prescribed her medication to take every day for a two year period in order to help her with the

  pain and prevent any recurrence of cancer. My client R.G. faithfully took her medicine, which

  eradicated her pain and put her at ease.

         24. When my client R.G. came to the United States, she was forced to surrender her

  medicine to officials. As soon as she arrived at Karnes, she reported her medical history to the



  doctor that she could not have her medication until the doctor consulted with another doctor on

  staff. When R.G. did not hear anything further, she returned to the medical staff and again

  asked if she could take her medication. At this second appointment, a different doctor on staff

  told her to give her the phone number of her Salvadoran doctor and that they would follow-up

  with him about her being able to take her medicine. Again, my client left without receiving the

  care that she needed and again no one followed up with her. As the delays set in, my client R.G.

  began to experience pain in her breasts on a daily basis. She returned to the infirmary a third

  time, complaining of the pain, and after the doctor inspected her scars from her surgeries, she

  informed my client that she could not have her medicine because the Karnes staff had not

  prescribed it. Still suffering, my client returned a fourth time complaining of pain and was

  promised that she could see a specialist. This promise was never fulfilled.

         25. With my assistance, R.G. contacted her Salvadoran doctor by phone, and he

  confirmed that no one from Karnes had tried to contact him. He was very concerned that my

  client was not permitted to take her medication and promised to send along her medical records

  and a letter explaining the importance of taking the medication. My client received these

  documents from her doctor on November 3, 2014. I helped her get the documents translated, so

  that she could bring them to the infirmary that day and hopefully secure the treatment she

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  needed. She was not able to see a doctor on November 3 due to long lines, so she returned on

  November 4 with all of the documentation. She again explained her situation to medical staff,

  but they told her that, despite proof from her Salvadoran doctor, they still could not give her the

  medication and that she would need to wait until they arranged for her to see a gynecologist.

         26. Later that day, on November 4, my client was thankfully was taken to a U.S.

  gynecologist in Floresville, Texas. The gynecologist told her that he was writing a new

  prescription for the same medicine that she was prescribed by her Salvadoran doctor and told her

  that he was giving it to the medial staff at Karnes. Upon return to Karnes, my client was not

  given her medicine from El Salvador nor was she given medicine from the filled prescription. It

  turns out that the Karnes medical staff, despite having a prescription from a U.S. gynecologist,

  never filled the prescription.

         27. When I picked R.G. up from Karnes after her release on November 7, 2014, she came

  out holding the prescription slip, which had never been filled, even though it had been written

  three days before. Moreover, R.G. told me that she had to ask several people in order to get her

  Salvadoran medicine out of the infirmary. As soon as we stepped out of the facility, she finally

  took a dose of her medicine for the first time in over a month.

         28. I have been in touch with R.G. via email since she has left the facility and she says

  that she feels much better and her pain has diminished since being able to take the medicine. I

  was very disturbed by how the Karnes medical staff ignored                 needs and did nothing to

  help a woman who was in pain for over a month due to their negligence. My client

  could have been prevented simply by giving her the medicine that she had brought from El

  Salvador.



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         29. Being detained at Karnes made it more difficult for my client to obtain counsel, and

  to assist me in preparing her asylum case and bond case. At the Karnes detention center,

  detainees cannot make free outgoing phone calls to their attorneys. Attorneys cannot call in to

  their clients, but must leave messages with GEO staff and wait for a return phone call. The lack

  of free telephone access is an obstacle to effective representation. Especially troubling for me

  was that my client could not leave me voicemails if I missed the call. Therefore, all I saw on my

  caller ID was the general Karnes number, but I had no idea who was trying to call me. Since I

  have several clients and also do intakes for countless women at Karnes, this made it very

  difficult to address my client        unique needs.

         30. My office is approximately 60 miles away from the Karnes detention center, so it

  takes me 1 hour to travel to the detention center to see my clients and interview them for their

  asylum and bond cases. I have also found that procedures for gaining access to the facility are

  highly inconsistent. Sometimes, I need to wait as long as an hour to enter, which is very

  frustrating given the limited time I have to visit my clients. I also always fax a list of the clients I

  plan to visit ahead of time and sometimes GEO staff members claim they never receive the list.

         31. Based on my experience in representing my clients and their children, and my

  conversations with my clients and their children who have faced similar circumstances as R.G.

  and her son, I believe that my clients and their children are suffering emotional and other harms

  as a result of being detained at Karnes.



                                         [signature page follows]




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